         Case: 3:15-cv-00328-slc Document #: 186 Filed: 10/02/20 Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WISCONSIN

JEFFREY D. LEISER,

                                Plaintiff,                                   ORDER
         v.
                                                                           15-cv-328-slc
DR. JOAN HANNULA, TRACY BRUNNER,
PATTY HAZUGA, AND TRICIA THACKER,

                                Defendants.


         The court held the final pretrial conference in this matter on October 2, 2020.

Consistent with my rulings during the hearing:

         •    The clerk of court is directed to provide Leiser two additional copies of the court’s

              September 30, 2020, order (dkt. 182), and this order, so that Leiser can forward

              both orders to potential witnesses Gorichs and LeGrave, so they can ask their

              probation officers to travel to the courthouse to testify on October 14, 2020. If

              Gorichs’ and/or LeGrave’s probation officers indicate that a subpoena will be

              necessary for them to grant their request to travel to the courthouse, Leiser should

              inform the court as soon as possible to give the court sufficient time to issue the

              subpoenas.

         •    The court GRANTS Leiser’s request for subpoenas for witnesses Rebecca Bergman

              and Jeff Chmelik, to testify at trial on October 14, 2020. 1 The clerk of court is

              directed to prepare subpoenas for these two witnesses and forward this order and

              the subpoenas to the United States Marshals Service for service on Bergman and

              Chmelik.     Leiser indicated during the hearing that he understands he will be



1
    Given the uncertainty surrounding the timing of the trial, this date may change.
Case: 3:15-cv-00328-slc Document #: 186 Filed: 10/02/20 Page 2 of 3




    responsible for paying the service fee.

•   Leiser also mentioned Patrick Lynch as a potential witness. Lynch was not included

    in Leiser’s witness list, but Leiser identifies Lynch as a unit manager at Stanley

    Correctional Institution in 2013, who directed Bergman to call HSU on Leiser’s

    behalf.   Leiser believes Lynch may be incarcerated.       Publicly available records

    indicate that a “Patrick G. Lynch” is incarcerated at Kettle Moraine Correctional

    Institution.   See https://appsdoc.wi.gov/lop/detail.do.   However, that individual

    appears to have been incarcerated consistently since 2013, so I doubt this is the

    same Patrick Lynch as the one working at Stanley. If Leiser wants to pursue this

    witness’s testimony, by October 5, 2020, Leiser must file a motion for a subpoena,

    providing more information about Patrick Lynch, including his age, possible address

    or location and any other identifying information he may have.           If the state

    employee defendants have this information, they should promptly turn it over to

    Leiser.

•   By October 7, 2020, counsel for the state employees are directed to provide: (1) a

    record of any affirmed inmate complaints involving any of the defendants, including

    defendant Thacker, for the four years prior to 2013, and (2) any argument in

    opposition to the admission of such affirmed inmate complaints.

•   Also by October 7, 2020, counsel for all defendants are directed to confer with

    their clients about whether any of them have been found liable in a lawsuit on an

    Eighth Amendment deliberate indifference claim, and inform the court of

    defendants’ responses.

•


                                        2
Case: 3:15-cv-00328-slc Document #: 186 Filed: 10/02/20 Page 3 of 3




•   If defendant Thacker wishes to have Nurse Milas testify via videoconference, she

    must file a motion seeking that permission by October 7, 2020.



    SO ORDERED.

    Entered this 2nd day of October, 2020.

                                    BY THE COURT:

                                    /s/
                                    _______________________
                                    STEPHEN L. CROCKER
                                    Magistrate Judge




                                      3
